        Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 1 of 21




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                    )         21cr10250
 UNITED STATES OF AMERICA                           )
                                                    )   Violations:
                V.                                  )
                                                    )   Count One: Conspiracy to Commit Wire Fraud
 (1)    AHMAD "ANDY" KHAWAJA,                       )   (18 U.S.C. § 1349)
 (2)    MOHAMMED "MOE" DIAB,                        )
 (3)    AMY RINGLER ROUNTREE, and                   )   Count Two: Conspiracy to Commit Bank Fraud
 (4)    THOMAS WELLS,                               )   (18 U.S.C. § 1349)
                                                    )
                        Defendants.                 )   Forfeiture Allegation:
                                                    )   (18 U.S.C. § 981(a)(l)(C) & 28 U.S.C. § 2461)

                                          INDICTMENT

   At all times relevant to this Indictment:

                                       General Allegations

       1.      Allied Wallet, Inc. ("Allied Wallet") was a payment processing company

headquartered in Los Angeles, California that served merchants doing business over the internet.

Allied Wallet obtained for its merchant clients access to banking and related services that

enabled them to accept debit and credit card payments over global electronic payment networks

run by Visa, Mastercard, American Express, and Discover, among others (the "Card Brands").

Allied Wallet served as an intermediary between its merchant clients and financial institutions

that were members of the Card Brand Networks ("Acquirers" or "Acquiring Banks").

       2.      Defendant AHMAD "ANDY" KHAWAJA was a resident of Los Angeles,

California and the owner and Chief Executive Officer of Allied Wallet.

       3.      Defendant MOHAMMED "MOE" DIAB was a resident of Glendale, California

and the Chief Operating Officer of Allied Wallet.

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Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 2 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 3 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 4 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 5 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 6 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 7 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 8 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 9 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 10 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 11 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 12 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 13 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 14 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 15 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 16 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 17 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 18 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 19 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 20 of 21
Case 1:21-cr-10250-NMG Document 1 Filed 08/25/21 Page 21 of 21




                                   /s/ Dawn M. King 1:12pm
